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NOT FOR PUBLICATION

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY




MALIBU MEDIA,
              P1aintff                                     Civil Action No. 17-12107
                                                                  (JMV) (MF)
       v.                                                           ORDER

JOE PARK,
              Defendant.



John Michael Vazguez, U.S.DJ.

      For the reasons stated in the accompanying Opinion, and for good cause shown,
                      9th
      IT IS on this         day of July, 2019,

      ORDERED that Plaintiff Malibu Media’s motion for default judgment (D.E. 17) is

DENIED without prejudice.



                                                 prQ’\j /q
                                                 John Michael Vazqi1z, US.D.J.
